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 1                  BEFORE THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3   UNITED STATES OF AMERICA,      .
                                    .      Case Number 21-cr-3
 4             Plaintiff,            .
                                    .
 5        vs.                        .
                                    .      Washington, D.C.
 6   JACOB ANTHONY CHANSLEY,         .     November 17, 2021
                                    .      10:09 a.m.
 7             Defendant.            .
     - - - - - - - - - - - - - - - -
 8

 9                     TRANSCRIPT OF SENTENCING HEARING
                    BEFORE THE HONORABLE ROYCE C. LAMBERTH
10                      UNITED STATES DISTRICT JUDGE

11

12   APPEARANCES:

13   For the United States:          KIMBERLY PASCHALL, AUSA
                                     United States Attorney's Office
14                                   555 Fourth Street Northwest
                                     Washington, D.C. 20530
15

16   For the Defendant:              ALBERT WATKINS, ESQ.
                                     Kodner Watkins, LC
17                                   7733 Forsyth Boulevard
                                     Suite 600
18                                   Clayton, Missouri 63105

19

20   Official Court Reporter:       SARA A. WICK, RPR, CRR
                                    United States District Court
21                                     for the District of Columbia
                                    333 Constitution Avenue Northwest
22                                  Room 4704-B
                                    Washington, D.C. 20001
23                                  202-354-3284

24
     Proceedings recorded by stenotype shorthand.
25   Transcript produced by computer-aided transcription.
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 1                            P R O C E E D I N G S

 2        (Call to order of the court.)

 3               COURTROOM DEPUTY:    Your Honor, we are on the record

 4   for Criminal Case 21-3, United States of America versus Jacob

 5   Anthony Chansley.

 6        Counsel, please approach the lectern and identify

 7   yourselves for the record.

 8               MS. PASCHALL:   Good morning, Your Honor.      Kimberly

 9   Paschall for the United States.

10               MR. WATKINS:    Your Honor, Albert Watkins on behalf of

11   the defendant.   Pleasure to meet you.

12               COURTROOM DEPUTY:    Your Honor, let the record reflect

13   that Ms. Crystal Lustig is here from Probation as well.

14               THE COURT:   All right.   I have the final presentence

15   report.    I take it both sides are satisfied with the report and

16   there are no further objections for the Court to resolve; am I

17   correct?

18               MS. PASCHALL:   That's correct for the government, Your

19   Honor.

20               MR. WATKINS:    Your Honor, I have had the opportunity

21   to review the final iteration of the presentence investigation

22   report with the defendant.      The defendant has approved and

23   signed off on it, as have I as counsel for the defendant.         Thank

24   you, Your Honor.

25               THE COURT:   All right.   The Court sets forth for the
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 1   record that in the calculations in the report, the total offense

 2   level of 22, criminal history category I results in a guideline

 3   provision of 41 to 51 months of custody, supervised release term

 4   of one to three years, and, under the guidelines, ineligible for

 5   probation, a guideline fine in the range of $15- to $150,000,

 6   restitution of $2,000, special assessment required to be imposed

 7   by statute of $100.

 8        Under the plea agreement, the defendant, of course, is able

 9   to argue for a variance from the guideline sentence or for -- it

10   can also argue, I guess, for a below guideline sentence as well.

11        The government may allocute first.

12             MS. PASCHALL:     Thank you, Your Honor.

13        Sentencing recommendations weigh heavy on the minds of all

14   prosecutors, knowing that what we are asking for is the

15   deprivation of someone's liberty in an attempt to quantify what

16   is justice.   It is incredibly difficult in this case --

17             THE COURT:    You may need to speak more into the

18   microphone so everybody can hear you.

19             MS. PASCHALL:     Sure.   Is that better, Your Honor?

20             THE COURT:    Yes.

21             MS. PASCHALL:     It is even more difficult in this case.

22   This defendant was the very first defendant indicted with

23   criminal acts perpetrated on the January 6th attack on the

24   Capitol building.    In many ways, this is unprecedented territory

25   for all of us.
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 1        So we as prosecutors learn to begin with the rubric set out

 2   in 18 U.S.C. 3553 and the sentencing guidelines.         As Your Honor

 3   has just noted, the parties and Probation in this case are all

 4   in agreement.   The guidelines suggest a range of 41 to 51 months

 5   of incarceration.    The government has asked for the top of that

 6   guidelines range.

 7        The government is not going to belabor all the points that

 8   we have made in our sentencing memorandum, but we do think that

 9   a few of the factors bear special import, and we want to

10   highlight for Your Honor today.      Those three factors are the

11   nature of the conduct, the need to avoid unwarranted sentencing

12   disparities, and general deterrence.

13        Your Honor is well aware now of the nature of the conduct

14   in this case.   We're not going to rehash all of the actions of

15   the defendant on the grounds of the Capitol on January 6, 2021.

16   The events are well publicized.      They speak for themselves.

17        But I do want to highlight some of those actions for the

18   Court as they pertain to a particular word that keeps coming up

19   in these proceedings, and that word is "peaceful."         It's come up

20   in prior pleadings from defense counsel.        It has come up in the

21   letters of support for this defendant.       And the right to

22   peaceably assemble is enshrined in the First Amendment to our

23   Constitution.   If the defendant had been peaceful on that day,

24   Your Honor, we would not be here.

25        So what the government finds troubling when viewing the
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 1   evidence of this case is the knowledge that the defendant's

 2   activities were anything but peaceful.       In the months leading up

 3   to January 6, the defendant posted vitriolic messages on social

 4   media, encouraging his thousands of followers to expose corrupt

 5   politicians, to ID the traitors in the government, to halt their

 6   agenda, to stop the steal, and end the deep state in the United

 7   States.   That is not peaceful.     That's a call to battle.

 8        The Court is well aware by now from the government's

 9   evidence submitted with our sentencing recommendation how the

10   government has alleged that the defendant entered the U.S.

11   Capitol on that day.     I have pulled up Sentencing Exhibit

12   Number 3 to show the exact moment when the defendant and the mob

13   who joined him on January 6 entered the building.

14        (Audio recording played.)

15               MS. PASCHALL:   Your Honor, that is not peaceful.          That

16   is chaos.

17        We know the defendant then makes his way outside of the

18   Senate.   He is face to face with Officer Keith Robishaw.         He

19   ignores the requests of law enforcement to leave the building,

20   and he ends up in the Senate gallery, at which point the

21   following interaction from Government's Exhibit 7 occurs.

22        (Audio recording played.)

23               THE COURT:   That video's not showing.

24               MS. PASCHALL:   Court's brief indulgence.

25        (Video recording played.)
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 1               MS. PASCHALL:   The audio on that video is a little bit

 2   difficult to hear, but the government also submitted

 3   Government's Exhibit 8, which the government believes better

 4   articulates exactly what the defendant was saying while he was

 5   screaming in the gallery at the Senate.

 6        (Video recording played.)

 7               MS. PASCHALL:   That last statement, "Time's up, you

 8   motherfuckers," that is not peaceful, Your Honor.         That is

 9   chilling.

10        We then know that the defendant makes his way to the dais

11   of the Senate, where minutes before the Vice President of the

12   United States was present, and he leaves this now famous note:

13   "It's only a matter of time.      Justice is coming."

14        Your Honor, those words mean something different when the

15   defendant is literally in the place where the object of his

16   vitriol and hate had been an hour before.        Those words hit

17   differently knowing that he is not across the country.            He is

18   not hours away.    He's minutes away.     He is not miles away.      He

19   is not a plane ride away.     He's feet away from the object of his

20   contempt and his hatred.     This note is not peaceful.       This note

21   is a threat.

22        The Senate continues to fill with additional rioters,

23   despite Keith Robishaw's attempts as the lone law enforcement

24   officer in the chamber to clear everyone out.

25        The defendant gives this invocation in Government's Exhibit
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 1   11 over his bullhorn to the rioters gathering.

 2        (Video recording played.)

 3              THE COURT:   Now, in that particular video, have you

 4   counted the number of -- he appeared to be the leader and

 5   speaking to all of that crowd.      Have you counted the number of

 6   people there in the Senate chamber?

 7              MS. PASCHALL:    I think it's approximately 20 at that

 8   point in time, Your Honor.     Over the course of the day, the

 9   government has estimated that between 55 and 60 rioters entered

10   the chamber.   This is in the secondary portion of that time

11   frame.   So I believe there's approximately 20 people gathered

12   there.

13              THE COURT:   At that moment, okay.

14              MS. PASCHALL:    Yes, Your Honor.

15        That invocation, Your Honor, is not peaceful.         It's

16   terrifying.

17        And finally, Your Honor, his statements after January 6

18   about how "the fact that we had a bunch of our traitors in

19   office hunker down, put on their gas masks, and retreat into

20   their underground bunker is considered a win" shows that this

21   defendant knew exactly what the rest of the world did not, that

22   a mob of people descended on the Capitol with the express

23   purpose of disrupting the activities of the lawmakers that day.

24   That is not peaceful.     That is criminal obstruction.

25        It is true, and the government will not deny, that this
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 1   defendant did not assault any law enforcement officers, did not

 2   steal any property, did not destroy anything on the grounds that

 3   day, as many others did.     That alone does not a peaceful person

 4   make.   These moments -- screaming, asking for the lawmakers,

 5   time is up -- in the gallery of the Senate really says all we

 6   need to know about the peacefulness of that day.

 7               THE COURT:   Now, I take it, to be fair, at the time --

 8   the government has no evidence that at the time he wrote that

 9   note to the vice president that "your time is coming," the

10   government has no evidence that he knew that noose was hanging

11   outside and the hangman's noose was -- had been constructed

12   outside the Capitol?

13               MS. PASCHALL:   We have no evidence of that.

14               THE COURT:   There's no evidence that he had

15   participated in putting that up or that he knew about that?

16               MS. PASCHALL:   We have no evidence of that.          Your

17   Honor is correct.

18               THE COURT:   But that makes that even more difficult.

19               MS. PASCHALL:   It does.    It's chilling, given the

20   context of the day.

21               THE COURT:   Right.

22               MS. PASCHALL:   And what we know to have actually

23   occurred.

24               THE COURT:   What we know now.

25               MS. PASCHALL:   What we know now.
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 1               THE COURT:   But we have no evidence he knew that at

 2   the time?

 3               MS. PASCHALL:   Correct.

 4        What the government finds so interesting about this

 5   peacefulness portrayal is that it is in direct contrast to what

 6   should have been happening that day, the peaceful --

 7               THE COURT:   Let me ask one more in that regard.

 8               MS. PASCHALL:   Sure.

 9               THE COURT:   There were people -- I have seen tapes.

10   There were people saying Trump should be hung -- Pence should be

11   hung that day.    I take it there's no evidence that he heard

12   those tapes -- or you don't have any tapes showing that he heard

13   those expressions that Trump should -- I keep saying the wrong

14   thing, that Pence should be hung?       There are no tapes that

15   you're aware of that demonstrate that he actually heard those

16   threats?

17               MS. PASCHALL:   I don't have that, Your Honor, correct.

18               THE COURT:   Okay.   That would make this a far

19   different case.

20               MS. PASCHALL:   It would.    However --

21               THE COURT:   But still, what was meant by what he wrote

22   there is still a big problem.

23               MS. PASCHALL:   It is, Your Honor, and it is especially

24   when you know the timing of the day.       So the defendant enters

25   the Senate at approximate 3:00 p.m.       All of the videos that we
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 1   have submitted to the Court before that show that he was on the

 2   grounds at least an hour before that with those members of the

 3   mob.   And we know what those people were chanting.          We know that

 4   this defendant was using his bullhorn to incite the crowd.          We

 5   know the tenor of what was going on that day, and I think we can

 6   use that context and apply it to that note, especially given --

 7   and the government did not play this portion of the video, but

 8   before that note happens, the defendant takes the dais and says,

 9   excuse my language, that "Mike Pence is a fucking traitor."          So

10   I think the context is quite clear.

11               THE COURT:   I did hear that said.      Right.

12               MS. PASCHALL:   All of this on a day that should have

13   been peaceful, when the world should have witnessed the peaceful

14   transfer of power.     That is what our democracy is built on.       It

15   is what we show the world to explain why our government is so

16   strong, why our government is so special.        None of what happened

17   on January 6, 2021, was peaceful.

18          And to contrast this defendant's alleged peacefulness

19   against the backdrop of what should have been the peaceful

20   transfer of power is hugely problematic.        And the government

21   hopes that with this sentencing recommendation we get at the

22   heart of the issue here, which is his obstructionist activities.

23          The government addressed possible sentencing disparities,

24   as we must, when we look at 18 U.S.C. 3553 in our sentencing

25   memorandum.   Your Honor is well aware that the defendant is now
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 1   the third defendant to be sentenced for a violation of 18 U.S.C.

 2   1512(c)(2).

 3        The government has asked for the top of the guidelines here

 4   because the guidelines are driven by that obstruction count.

 5   And the defendant's obstructionist activities are the most clear

 6   of any defendant who has thus been sentenced on this count.           He

 7   is one of the first 30 people to enter the building.          He is

 8   there for almost an hour.      He is ignoring the requests of law

 9   enforcement at every turn.      He is spewing obscenities aimed at

10   our nation's lawmakers.     He leaves that chilling note for the

11   Vice President of the United States.        He is literally in the

12   spot in which this congressional proceeding should have

13   occurred, and it cannot occur while he is doing these activities

14   there that day.    In the government's mind, that distinguishes

15   him from others.

16        And finally, the government asks that the Court focus on

17   one of the sentencing factors that we believe to be incredibly

18   impactful and drives our sentencing recommendation, and that's

19   deterrence.   Specific and general deterrence both weigh heavily

20   on the government's recommendation here.

21        For this specific defendant, the government can only hope

22   that this period of incarceration will be sufficient to deter

23   any criminal activity of this kind ever again.         But perhaps most

24   importantly, we ask for a sentence at the top of the guidelines

25   for this flag bearer of the January 6 Capitol riot events to
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 1   send this strong message to this defendant and any other,

 2   regardless of their creed, belief, political persuasion, or

 3   otherwise, to anyone who may wish to do harm to this city or

 4   country or democracy, the message today is don't.          Don't think

 5   that your illegal actions come here without consequences.          Don't

 6   think that the federal law enforcement agencies will take

 7   lightly the crimes you commit in this city.         And don't think

 8   that the justice system will sit idly by while you attempt to

 9   end that peaceful transfer of power.        Just don't.

10           For all those reasons and those put forth in our sentencing

11   memorandum, we ask humbly of this Court for 51 months of

12   imprisonment, three years of supervised release, and $2,000 of

13   restitution.

14                THE COURT:   Thank you very much, Ms. Paschall.

15           Mr. Watkins?

16                MR. WATKINS:   Thank you, Your Honor.

17                THE COURT:   Good morning, sir.

18                MR. WATKINS:   Before I start, I want to make sure I

19   make a public record about the appreciation I have for the

20   professionalism of Ms. Paschall as the Assistant U.S. Attorney

21   in this case.    I want to express my appreciation for your court

22   personnel who have helped me, my office serve our client in this

23   case.    I want to thank the Court personally, not having had the

24   privilege of meeting you before in person, for a lot of

25   compassion and patience that you've demonstrated, not simply for
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 1   the defendant but for an old white guy from the heartland,

 2   skinny guy, and I appreciate it.

 3        Your Honor, you have been reasoned throughout these

 4   proceedings.    When I have been asked repeatedly to opine about

 5   one ruling or another in this case, I felt secure and genuinely

 6   accurate in a good way when I would respond it was a very

 7   reasoned decision.

 8        When I first started using that word within the context of

 9   this case to describe your decisions, it was designed to shroud

10   my disappointment and to do it respectfully.         As the case

11   developed, I used it in a true sense of the word, to express

12   appreciation for not just the legal reasoned basis for your

13   decision, but I came to appreciate, as has my client, how those

14   decisions, as reasoned as they were, not only served justice,

15   but my client.

16        And we're here today uniquely presenting, not just as

17   defense counsel but uniquely presenting as a defendant.            We as a

18   nation, as a democracy, as a country of people that are brothers

19   and sisters and relatives and colleagues and coworkers, we are

20   at a crossroads of divisiveness.       It's on all levels.     It's

21   political and socioeconomic and racial-based divisiveness.            It's

22   intrafamilial divisiveness.      Our dinner tables, my dinner table

23   has been compromised by that divisiveness.

24        I have come to conclude -- and my opinion means nothing.

25   The opinion of this Court means something.         But I've come to
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 1   conclude that the events of January 6 are not of the same degree

 2   of abhorrence as that which has been described about Pearl

 3   Harbor, the day that will live in infamy, or 9/11 and the tragic

 4   circumstances that surround that.

 5        And while I can shun those comparisons, I cannot, as a man

 6   who was appalled on January 6, deny the attack on democracy that

 7   occurred.   It occurred with alarming clarity and in a calculated

 8   fashion.

 9        January 6 gave rise to the eyes of the world being able to

10   see repugnancy on display, unbridled, unfettered repugnancy, the

11   cause of which is not our issue here.        Those responsible in one

12   form or another is not the issue here.

13        I have said that I truly believe that January 6 will be a

14   day that we look back and view in our rearview mirror as the day

15   that collectively, as a nation, no matter who is responsible for

16   all the machinations and marches and trespass and obstruction,

17   that will be the day when we were compelled as a nation to belly

18   up to the bar and to own our own role in permitting the auger of

19   January 6 to blossom.     Whether our role was active or passive,

20   we all had a role.

21        So the cause of the assault, those who were planners and

22   schemers, those who funded and orchestrated, those questions

23   remain to be answered, and they're not for us today.

24        And I certainly will not belabor the Court with that which

25   I have, in my own humble opinion, eloquently set forth in my
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 1   sentencing memorandum on behalf of the defendant.          I will not

 2   belabor the obvious when it comes to the laws governing

 3   sentencing and the magic language and the keys that permit this

 4   Court to entertain lawfully bona fide and substantial requests

 5   for downward departures from the range of sentencing suggested

 6   by the federal sentencing guidelines.

 7        I will and am compelled to note that I recognize and Jake

 8   Chansley recognizes that this case presents every bit as

 9   uniquely as Jake presented on January 6.        This Court is in a

10   remarkably unique position to simultaneously mete out justice

11   and to emphasize common ground upon which all of us can premise

12   somehow a way to bridge this great divide.         As a nation, we have

13   prided itself and indeed bloomed, blossomed, grown, and

14   demonstrated its greatness by protecting its weak and the

15   world's weak.    We're retched masses.

16        The government -- and when I say "the government," I need

17   to make it very clear, I am not talking about the Assistant U.S.

18   Attorney Ms. Paschall.     The government expended virtually

19   limitless resources, and they had those limitless resources to

20   expend, within the context of a prosecution of anyone and

21   everyone who should be prosecuted within the context of

22   January 6.

23        The government knew; the government knew before they

24   prosecuted the defendant, before he was charged that indeed he

25   was a member of our Armed Forces.       He was a sailor.     The
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 1   government, if they did not have access to and ready possession

 2   of those military records before they prosecuted the defendant,

 3   they should have.    They had the resources.       They had the

 4   ability.   They had the access.      And it would have been nothing

 5   but a call.   Those resources are great for a reason.

 6        The government has deployed those virtually limitless

 7   resources in response to January 6 in a way that's very noble.

 8   They moved fast.    Those investigations are still going on.       The

 9   government on all sorts of levels is moving forward with

10   investigations.

11        But we're not in a position of slowing this court

12   proceeding down because we don't have to, because those

13   investigations, those outcomes are irrelevant as to my client,

14   as to the defendant in this case, as to the decision of my

15   client to enter a plea, not because of any reason other than he

16   is accountable and wants to be held accountable based on

17   evidence that we have today, that this court has seen.

18        I've provided you with videos.       I've provided the

19   government with videos.     The government's given me videos.      The

20   government's given you videos that I've given her.          This isn't a

21   drive-in movie theater.     You don't need to see more video.

22        I need to emphasize to this Court that the government in

23   2006 had in their charge a young man who was 19 years old, pie

24   faced.   I gave you a photograph of him from that era.         It looks

25   like he's 12.    It looks like he's in a Macy's Department Store
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 1   of yesteryear having a Christmas photo taken in a uniform.         That

 2   young man, that kid, for the first time in his life at the age

 3   of 19, he had access, access to medical care.         And that young

 4   kid who had forged his way all the way to the Navy at the age of

 5   19, at that time had already been through one trauma after

 6   another, significant trauma, he had the foresight, the insight,

 7   and the introspection to go to the doc on the ship and say hey,

 8   I want to find out if I'm crazy.

 9           And in looking back, 2006 wasn't that long ago.       The doctor

10   took his time, and he diagnosed Jake.        What was the doctor's

11   duty?    He was a sailor, too.    His duty was to ascertain the

12   answer to one question:     Is this sailor fit for duty?       It wasn't

13   oh, let me diagnose you, let me hold your hand, let me tell you

14   what your diagnosis is, and let's see if we come up with a

15   treatment plan.    If it was cancer, they would have had to treat

16   my client.    If it was a broken bone, if it was any one of

17   virtually any health ailments that were diagnosed, treatment

18   would have been given.

19           In those medical records, you see identification of

20   folliculitis because of ingrown hairs.        They have a diagnosis.

21   They have a treatment plan.      But you have a mental health

22   disorder, a life-long disorder that's diagnosed, that's serious.

23   And in 2006, the government didn't share that with the patient.

24   Their question was, is he fit for duty?

25           There's a 15-year window of opportunity that the defendant
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 1   lost.    The government didn't do what the government should have

 2   done.    Not Ms. Paschall, not the Department of Justice, but it's

 3   one government.    This is our government.      And for 15 years, that

 4   decision -- it wasn't malicious.       It wasn't evil.     But the

 5   decision not to share that diagnosis, not to make sure that this

 6   young man, the pie-faced young man in a sailor outfit, was at

 7   least aware of a diagnosis that required attention, that was a

 8   fateful decision, because there was a 15-year quest of this

 9   young man, socially isolated, mentally challenged with respect

10   to this pronounced mental health disability, moving forward on

11   a -- not mindless, but a really committed, disciplined quest for

12   answers.    Why am I different?    What's wrong with me?      Why am I

13   bullied?    Why am I isolated?    Why am I not a part of everyone?

14           That 15-year window, one can't help but to wonder if this

15   government had in 2006 said, hey, Jake, you got a problem, we

16   gotta address it, we need to deal with it, and you need to be

17   aware of it, had that been done, speculation, I know Jake's

18   discipline on a lot of levels, if one-tenth of that discipline

19   was employed during those 15 years to address this issue, we

20   would not be in this courtroom today.        Jake would not have been

21   at the Capitol on January 6.      But that's could have, should

22   have, would have.

23           Since the outset of this case, the government, as a matter

24   of record over and over, has attempted to portray Jake as a

25   leader, a planner, an organizer, leading the charge into the
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 1   Capitol.   Finally, as the Court acknowledged, no, he wasn't

 2   violent.   He wasn't destructive.      He didn't thieve.     He wasn't a

 3   planner.   He wasn't an organizer.

 4        I shared with this Court the candid reality that Jake, for

 5   better or for worse, because of his costume, because of his

 6   paint on his face, his torso, tattoo-ridden, fur pelt, horns,

 7   that costume, that part of his shamanic commitment and faith,

 8   whether you're seeing it in my eyes as hey, hell of a costume,

 9   or in the eyes of another shaman, it doesn't matter.          That image

10   stuck.

11                THE COURT:   He made himself the image of the riot,

12   didn't he?

13                MR. WATKINS:   Correct.

14                THE COURT:   For good or bad, he made himself the very

15   image of this whole event.

16                MR. WATKINS:   That's correct, Your Honor.      There's no

17   question about it.

18                THE COURT:   Even walking down the avenue, he made

19   himself that image, before he even got there.

20                MR. WATKINS:   Before he ever got to D.C., before he

21   ever had a dream of walking from The Ellipse to the Capitol.

22                THE COURT:   Yeah.

23                MR. WATKINS:   The government has made representations

24   to this Court that support the detention of Mr. Chansley while

25   this case has been proceeding.       The government has cast Jake in
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 1   a pretty horrific light.      And I will be the first to acknowledge

 2   that the one-dimensional light that has been utilized by the

 3   government fully supports the proposition that Jake is a

 4   horrific image indeed, supporting the proposition that his role

 5   in this horrible day, this assault on democracy was repugnant.

 6        But the government knows.       I know.   Jake knows.    And I'm

 7   very hopeful that by the end of this presentation this Court

 8   will understand obviously there's more to the story.          There's

 9   the other side of the story.      There's the rest of the story.

10        Being polite, the government knew that many of its

11   representations were, at best, strained.        It was not until only

12   recently that the Court actually had the government acknowledge

13   to it that Jake was not an organizer or a planner.          The

14   government has never publicly affirmed that until today.

15        The government has harped on flagpoles or tired threats,

16   obscenities.    The informal posture of the government is

17   different, and the professional compassion demonstrated by

18   Assistant U.S. Attorney Paschall is heart-warming.          It is true

19   blue to the job of the Department of Justice.         It is that which

20   has rendered the Department of Justice the ability to be the

21   crown jewel for the world to see.

22        I recognize and am tremendously respectful of the fact that

23   the assistant U.S. attorneys who are the boots on the ground

24   within the context of these January 6 cases have, to a certain

25   and not insignificant extent, had their wings clipped.             There is
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 1   a chain of command.     There is an overwhelming optics-driven

 2   desire, not an ignoble desire, but it's still an optics-driven

 3   desire, and that man has the greatest optics appeal in the world

 4   for that chain of command.

 5        The moral duty has one which -- has been one which courts

 6   have been hesitant to rely upon for precedence.         The ethical

 7   duty, the legal duties of the government require pursuit of

 8   justice, an evenhanded justice born of candor and transparency

 9   and respect for all accused, for the rights of the accused.           The

10   importance of this case is not simply to Mr. Chansley, but

11   clearly, by virtue of the circumstances, the image, effectively

12   the brand and the logo and the tag line all wrapped in one for

13   January 6, personified by Jake has rendered this case important

14   for the nation.

15        As a nation, as citizens, as members of those who breathe

16   air in our land, citizens or not, we have a right to rely on the

17   integrity of our government.      We have a right to rely on the

18   accuracy of their representations.       We have a right to expect

19   nothing short of decency.      It should be the proud duty of our

20   government to protect the weak and the vulnerable.          It's a

21   burden that the government should continue to wear as a badge of

22   honor.

23        The government's sentencing memorandum and the sentencing

24   presentation, legally sound, but they constitute a rote refrain

25   which the government has in this case opted to sing over and
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 1   over again until such time as that message, despite its cracks

 2   and its weaknesses and despite its obvious oversight of a

 3   glaring tragedy that occurred in 2006, it has morphed into a

 4   commercial truth.

 5         That doesn't mean it's false.      That's the reality here.

 6   That's the unique nature of this case.        The government has its

 7   story, and it has prosecuted nobly based on that story.

 8         But you cannot characterize every defendant, every

 9   January 6 defendant based on and labeled under one moniker.         The

10   government, the Department of Justice has done the noble thing

11   and the right thing.     They had to shift gears to do it, and they

12   shifted away from trying to label everybody under one moniker to

13   actually drilling down.     And they've done it.      They've done it

14   in large part with how they're charging, what they're charging,

15   who they're charging.

16         Jake presents as a very unappealing defendant to drill

17   down, to drill down on, scratch the surface, and find out who he

18   is.   But it's particularly because of that absence of appeal

19   that renders him most worthy of drilling down and scratching

20   that surface, for he is, he is a part of our weak.

21         The country has come to see that in no small part not all

22   of those who participated in events on January 6 were the same.

23   The nation has the choice to evaluate things based on

24   information that they garner.      The government has the right and

25   the duty to prosecute based on the information and the evidence
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 1   that they have.    This Court has the choice and the opportunity

 2   to ensure that justice is indeed done, an opportunity to right a

 3   wrong that occurred and was perpetrated by the government, not

 4   the Department of Justice but the Navy, 15 years prior to

 5   January 6.    The government's doctor diagnosed Jake in 2006 and

 6   didn't tell Jake.    With the limitless resources of the

 7   government, one would thing somebody would have told Jake.

 8        Tragically, that decision in 2006 is impacting us today.

 9   Jake does not present to this Court with some spontaneously

10   identified medical ailment curiously found only by the doctor

11   that I hired and spent a lot of money on to say what I wanted

12   him to say.    Jake presents with a long-standing diagnosis by a

13   government doctor.     Jake re-presents with a 2021 forensic

14   psychiatric exam by Dr. Van Der Walt which was like none other I

15   have seen in almost four decades of practice before the federal

16   bench.

17                THE COURT:   One of the best I've seen.

18                MR. WATKINS:   It was an admirable piece of work, and

19   it took work.

20        Jake has schizoid personality disorder, ups and downs of

21   depression.    These are diagnoses by government agents.           Jake is

22   a man who in July, when that psych evaluation report came out,

23   he became a new man.      He became a new man who had just a month

24   earlier been slipping into an abyss that scared me and those who

25   knew him.    Jake presented as a new man because he had an answer
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 1   to a question that he had been consumed with for all of his

 2   knowing life, not just adult life but going back to grade school

 3   days, between the abuse, the neglect, the bullying, and all the

 4   unreconciled childhood traumas that we all have and hang our hat

 5   on.   These were real.

 6         Jake has served 317 days effective today, and with the

 7   exception of the short stint in Englewood, Colorado, they were

 8   in solitary, not administrative segregation because of a

 9   wrongdoing or disciplinary issue.       It's COVID; it's COVID.

10         I am compelled, while I'm thinking about it, the personnel

11   at the Alexandria Detention Facility, Warden Quentin Wade, every

12   single one of them with respect and dignity discharged their

13   duties and did so in a fashion consistent with the high

14   standards that we all hope are followed by others.

15         Jake has endured the trauma of being held, at first being

16   held and not being able to eat.       Curiously, Jake's dietary

17   restrictions, while shamanic based, interestingly, those very

18   types of dietary treatment -- or dietary restrictions are used

19   as treatment for people with the type of mental health disorder

20   that he has, as but one of many incremental measures that can be

21   taken to help.    In a very real sense, his faith became his

22   self-medication.

23         Jake has endured the entirety of his 317 days alone, no

24   family visits.    The resources weren't there.       So perhaps more

25   tragically than anything else, Jake's sole touchdown to humanity
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 1   was me, and that's horrific.      Being a counsel whose skill sets

 2   have never ever included holding hands or singing Kumbaya, I'm

 3   grateful to Jake, because while I didn't learn the words to the

 4   song, I'll tell you what, it did teach me, at least

 5   professionally and as a human, to hold hands, because it was

 6   necessary.    It was needed.    I grew because of him.      Graciously,

 7   he taught me.

 8          Being at counsel with a guy like Jake alone in jail while

 9   I'm in St. Louis and he's in Alexandria, it's humbling.            Jake

10   endured his detention, his incarceration through discipline,

11   meditation, contemplation, self-reflection, introspection, all

12   the neat things that kind of touchy-feely and therapists like to

13   talk about.   But he did that.     He did that in a way that was

14   devoid of any disciplinary issues.       He did that in a way that

15   was noble and humane and peaceful.       Every day that was spent by

16   Jake in solitary, in my opinion, it's worth more than a day in

17   general.

18          Jake presents, as this Court knows all too well, because

19   that's been my rote refrain, he has no criminal history, zero.

20   Jake self-surrendered.     He showed up.     They wanted to talk to

21   him.   Here I am.   Here's my clothes.      Here's my horns.       No

22   disciplinary issues while confined.

23          But this case has not occurred in a vacuum.        Jake went

24   through a process, a process which in hindsight wasn't a process

25   that was anticipated.     This is a process that started with a
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 1   loud mouth proclaiming that Trump should pardon the shaman.

 2   That was a part of the extrication.       Nobody held their breath

 3   believing that President Trump --

 4              THE COURT:    There's no question his views evolved.

 5              MR. WATKINS:    I'm sorry?

 6              THE COURT:    There's no question his views have

 7   evolved.

 8              MR. WATKINS:    That's correct, Your Honor.

 9        When Jake was not pardoned, he expressed disappointment.

10   He didn't say I hate Trump.      He said he was disappointed.      And

11   that morphed into having had the opportunity, without the socio-

12   stressors and all the malarky that gave rise to this euphoric,

13   manic state, of being horrified by what he saw, as I had to go

14   through the painful process of navigating one-dimensional WebEx

15   or Zoom to show videos to Jake as a part of the discovery

16   disclosure process.

17        I couldn't watch Jake watch them anymore, hours of them.            I

18   had support personnel watching Jake watch them.         And they all

19   were drained, not by the videos, drained by watching his

20   response to himself, a detached view of a former self.

21        Jake presents to this Court having all on his own and

22   without promises of good treatment or a 5K1.1, he has

23   voluntarily submitted to debriefing, not once, multiple times.

24   He has been candid, forthcoming, truthful.         He went out of his

25   way to make sure I had the information necessary to garner from
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 1   a third person who would never ever in a million years do

 2   anything to provide anything to the government to give to me a

 3   video to give to the government which depicted actions which the

 4   government was looking for, did not have, and demonstrated the

 5   faces of individuals who were responsible for breaking into and

 6   compromising the integrity of a highly elected official and

 7   stealing and being destructive to classified property.

 8        He did that without promise.       He didn't do that as a

 9   bargaining chip.    He did it.    He's there.    He's available.   He

10   was available, will remain available to demonstrate to the

11   government that he wants to make right, make good by the

12   government, to the government, because he's never been a man who

13   wanted to be who he is.     He never wanted to be seen or depicted

14   as anything other than a noble lover of his land.

15        Jake presents with having apologized without equivocation.

16   No buts, no blames, I did it, I want to be accountable, I want

17   to be held accountable.     Jake presents with a life-long history

18   of kindness, peacefulness.

19        Oh, peaceful wasn't the tenor of the day.         No, January 6

20   was not peaceful.    We're not talking about tenor.        Jake presents

21   as a guy who is completely devoid of any benefits, because he

22   sought none, from having done anything that he's done with the

23   government from the time he peacefully self-surrendered to date.

24   He did not ask for, did not want.       To be pure, you give not to

25   be recognized.    I'm not pure.    I'm asking the Court to recognize
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 1   me.   I'm asking the Court to recognize that this is a bright

 2   young man.   I'm asking the Court to take special note, because

 3   Jake's going to speak.     I'm representing to this Court as an

 4   agent of the court, I have not told Jake what to say.          I have

 5   not suggested to Jake any words.       I have not reviewed a thing

 6   that he's written, rewritten, thought about writing, or even

 7   what he's going to say.

 8         I know that Jake works well with pictures.        He communicates

 9   well with pictures.     I implore the Court to not simply listen to

10   what Jake has to say within the context of this case.          It's

11   important to watch, see how he speaks and some of the

12   characteristics which may to a trained eye but not to an

13   untrained eye be indicia that supports that perhaps a long time

14   ago someone in a learned position of authority in his life could

15   have said hey, you know what, come on over here, we've got to

16   take care of you.

17         Jake has prepared his own words, and how he articulates is

18   important.   The Court has the military records.        The Court has

19   the psych evaluation from 2021.       But it's really important that

20   this is recognized by Jake and that the Court recognize that

21   Jake recognizes this isn't a case about Trump.         This isn't a

22   case about pardons or whether Jake was duped, used, exploited.

23   Whether Jake has anyone to cast blame on is wholly irrelevant,

24   because he doesn't.

25         This is not a case about social media or COVID or social
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 1   isolation made me do it.      This is certainly not a case that

 2   should be a film festival.      It's not about guilt or innocence

 3   anymore.   The defendant has entered a plea competently,

 4   genuinely.   The Court has accepted that plea.

 5        This is about culpability, a different analysis.          It's

 6   important for you to hear from Jake.        I'm confident that this

 7   Court has heard limitless pleas for mercy and leniency.            I am

 8   confident this Court has witnessed tears of significant

 9   magnitude, some of which are alligator tears.

10        You won't get that from Jake.       This is not Jake being a

11   pleader.   This is a straight-shooting young man who's got some

12   problems, problems that he has overcome because of a loving,

13   caring, unbelievably dedicated mother, hard working, but she

14   couldn't be there all the time.

15        Jake was in jail.     He lost the one male role model of

16   positive significance in his life while incarcerated, and Jake

17   gets that the only one responsible for that was Jake.          It tears

18   him up, but he gets that he's the one that made decisions.

19        The sincerity and genuineness of the words of Jake will

20   show, and when Jake has concluded, I would request just a few

21   more minutes, not even that, to conclude.

22        Mr. Chansley?

23        I want the record to reflect that I am going to step aside

24   while he talks, Your Honor, because I think it's important that

25   he do so, in a presentation sense, naked, not in the January 6
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 1   sense.

 2                THE COURT:   All right.   Good morning, Mr. Chansley.

 3                THE DEFENDANT:   My humblest regards, Your Honor,

 4   seriously.

 5        I want to start by saying I really wish I would have met a

 6   man of your honor and stature under far different circumstances.

 7   That's to say the least.      And thank you for your service to our

 8   military, our Constitution, and our federal court system.

 9        Also, thank you for the Court-ordered organic diet while I

10   was in solitary.    It did wonders for me.      Thank you.

11                THE COURT:   I took a lot of flak for that.

12                THE DEFENDANT:   God bless you for it.     Seriously,

13   thank you.    It made all the difference.

14        I would also like to say that I'm going to be upfront with

15   Your Honor as I was upfront with the FBI, with the prosecution,

16   and with the doctor in Colorado.       And I would like to start with

17   a quote from Max DePree.      The quote goes something like, you can

18   help yourself understand problems by asking yourself questions.

19        To understand my predicament, you know, while I was in

20   solitary, I asked myself a lot of questions.         But I think the

21   most important question I asked myself was, what would Jesus do.

22   And I followed that up with, what would Gandhi do in this

23   situation.

24        And the truth of the matter is, I came to the conclusion

25   that Jesus would love, understand, and respect everybody
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 1   involved in this court proceeding, and that would result in his

 2   acceptance of responsibility, no matter what the consequences.

 3   And Gandhi, who viewed God as truth and truth as God, would

 4   allow his loyalty to God and to truth to guide him to accepting

 5   responsibility even and especially when it incriminated him.

 6           As I implemented this strategy, because I look up to these

 7   men, I look up to Gandhi, I look up to Jesus, I want to mirror

 8   their character as much as I can, part of the reason why,

 9   looking at the video, I was just like, oh, my God.

10           So I tried to remain objective and impartial.       And in the

11   process of being objective and impartial, I was blessed with

12   hearing a quote from, of all people, Clarence Thomas, Justice

13   Clarence Thomas, because I actually admire him quite a lot as

14   well.    And he likened being a Supreme Court justice to being a

15   referee on a football field.      And he said that, you know, if you

16   make a ruling on the field that causes people's favorite team to

17   lose, well, then, the people are in an uproar, and they say the

18   referee should be fired and he's blind, but if the referee makes

19   a call and a ruling on the field that the people like and it

20   makes their team win, well, then all of a sudden, the referee is

21   deserving of praise and is to be promoted and, you know,

22   glorified.

23           And so when I heard that, I thought to myself, well, you

24   know what, if I'm going to remain objective and impartial, then

25   I need to put myself in Your Honor's shoes.         I have to put
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 1   myself in your shoes.     I have to put myself in the prosecution's

 2   shoes.   I have to put myself in the shoes of everybody that saw

 3   the coverage, shall we say, in the media and saw my image from

 4   their subjective perspective without knowing me.

 5        And so if I'm asking Your Honor to be impartial, I need to

 6   be impartial, too.     I have to look at the situation from a

 7   third-party perspective, not looking at it from Jake's

 8   perspective.

 9        I believe in freedom, Your Honor.        I believe in freedom

10   with all of my heart and soul.       It's why I joined the military.

11   I support the Constitution.      I support this country.      Every

12   fiber of my being, I am willing to die for it, much like

13   yourself, which God bless you.       Thank you for your time and

14   service in 'Nam.

15        But I also believe in law and order, because without

16   freedom -- without law and order, you can't have freedom.           And

17   in order for freedom and law and order to coexist, freedom has

18   to be exercised with accountability and responsibility.            Those

19   things have to be practiced in tandem with freedom.          Otherwise,

20   I mean, what's the point.      If the law is broken and there's no

21   punitive action, then there's no point in having the law.           It's

22   anarchy.

23        So I had to come to terms with the fact that I was in

24   solitary confinement because of me, because of my decision.           I

25   broke the law, and if I believe in freedom, if I believe in law
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 1   and order, if I believe in responsibility and accountability,

 2   then that means that I should do what Gandhi would do and take

 3   responsibility even and especially when it incriminates me.         No

 4   ifs, ands, or buts about it.      That's what men of honor do.

 5           It's painful logic, but I subscribe to the truth even when

 6   it hurts and especially when it hurts, because that's the only

 7   way we can grow as a human being.

 8           Your keeping me detained was your right as a federal judge,

 9   and I don't blame you.     I don't.    Looking at it objectively, I

10   understand completely, and I respect you for it.          Because in all

11   honesty, I needed the time to re-evaluate.

12           In short, if I didn't like the ruling on the field, I

13   should not have behaved in a way that caused the Department of

14   Justice and the Court to blow the whistle and throw the yellow

15   flag.    That's just all there is to it.

16           In solitary confinement, I did a lot of quiet reflection.

17   I did a lot of soul-searching.       I learned a lot about myself

18   that -- you really dig when you're locked up 22 hours a day,

19   Your Honor.    And me being as introspective as I am, as you know,

20   I'm kind of a loner.     I've also been introspective.       I've always

21   kind of done this self-examination.       I'm into enlightenment and

22   Christ and Buddha and Gandhi.      So spirituality and looking

23   inward and meditating has always been a part of me.          That's what

24   shamanism is all about, is looking inward.

25           So I asked myself a lot of questions, and I forced myself
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 1   to answer those questions, no matter how painful they were, with

 2   impartial answers.     And I re-evaluated a lot of my premises, my

 3   first premises, and I came to some conclusions that I would like

 4   to share with Your Honor.

 5           Number 1, men of honor admit when they're wrong, not just

 6   publicly but to themselves.      So I would like to use this as an

 7   opportunity to admit to Your Honor, to the prosecution, to the

 8   nation, to the world, I was wrong for entering the Capitol.         I

 9   have no excuse, no excuse whatsoever.        The behavior's

10   indefensible.

11           Number 2, I may be guilty of this crime, absolutely, but I

12   am in no way, shape, or form a dangerous criminal.          I am not a

13   violent man.    I am not an insurrectionist.       I am certainly not a

14   domestic terrorist.     I'm a good man who broke the law, and I'm

15   doing all I can to take responsibility for that, Your Honor.

16           Number 3, in all honesty, from an objective perspective, I

17   am nothing like these criminals that I have been incarcerated

18   with.    Some of these people, you know, God love them, not only

19   are we miles, light years away mentally, but like they're acting

20   like they're in the Holiday Inn while they're incarcerated.

21   Multiple offenders, yeah, I've been here a bunch of times.         And

22   I'm just like thinking to myself, how do you go through

23   something like this and come back?       Why would you ever do

24   anything that would bring you back to this?

25           Number 4, I am truly, truly repentant for my actions,
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 1   because repentance is not just saying you're sorry.          Repentance

 2   is apologizing and then moving in the exact opposite direction

 3   of the sin that you committed.       And that's what I've been trying

 4   to do ever since I realized the magnitude of my error and the

 5   magnitude of my mistake.

 6        That's why I called the FBI as soon as I heard I was wanted

 7   for questioning.    It's why I set up an appointment with the FBI

 8   without a lawyer present.      And I told them everything.         Even

 9   stuff that I knew would incriminate me, I told them everything

10   because I am loyal to the truth.       And if I did it, I'm not going

11   to try and battle it in court.       I'm just going to say no, that's

12   the truth, this is what happened.       That's the reason why I

13   worked with the prosecution without any promise of anything.

14   It's the reason why I took the plea deal of the crime for which

15   I'm guilty.

16        Number 5 is, in retrospect, I would do everything

17   differently on January 6.      In all honesty, I would do everything

18   differently.    I would, with all of my heart and soul, try to

19   stop people from allowing anything like that to happen.            I'm not

20   going to try and tout the things I did prior to the trespass

21   that happened.    But when people were throwing stuff at the

22   police, I told them to stop.      When I saw what was going on on

23   the scaffolding, I got down because I saw that things were

24   getting kind of crazy, and I was walking along with my megaphone

25   saying hey, the cops are our friends, leave them alone.
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 1           But there's no excuse for once the breach was made, you

 2   know.    I watched it.   There's no excuse.     But I'm just being

 3   honest with you.

 4           Number 6 is -- oh, we live -- I heard a saying that we live

 5   two different lives:     One life that we learn from and the other

 6   life after that.    And I would like to believe that after

 7   watching those videos, you know, there's something that you

 8   learn from watching yourself objectively, you know, especially

 9   when you're in a frenzy.      It's incredible what a third-party

10   perspective can do.

11           Number 6 is, most of the time when we look at other people,

12   and myself included, we tend to think that the small part of

13   them that we see is the whole of who they are, you know.           In

14   many cases, some people think that the small part that they see

15   is who they are in their completeness all the way until their

16   death.    But then I thought to myself, well, what if we all

17   judged Gandhi based on the fact that he used to beat his wife

18   before his spiritual awakening and his liberation movements.

19   What if we judged Jesus based on the fact that he overturned the

20   merchant tables outside the temple in Jerusalem before he went

21   to the crucifixion for his passion.

22           So I'm doing all I can, including some of the people that

23   I've been incarcerated with, to not judge them.         Like Christ

24   said, judge not lest you be judged.       And I'm trying to live

25   that.
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 1        Number 7 is the media puts intense pressure on the public

 2   and targeted individuals to do this process of looking at a

 3   small portion of somebody and saying that's who they are, you

 4   know, and then they regurgitate the same narrative over and over

 5   and over again to like engrain this stuff in the public's mind

 6   of the narrative that they want people to absorb.

 7        And there's a term for this persecution through propaganda.

 8   It's called controversialization or controversializing somebody.

 9   I most certainly have been controversialized for sure.

10        With all of that said, I would like to bring up another

11   quote from Max DePree.     We cannot reach our full potential by

12   remaining who we are.     And I would like to add to that that it's

13   hard to grow to our full potential when we're treated based on

14   the bias of a mistake, especially if it's just one mistake in a

15   long history of trying to do the right thing.         I believe that

16   the measure of a man is the extent to which he grows and

17   acknowledges -- grows beyond and acknowledges his mistakes and

18   tries to correct errors and admit mistakes and grow past them.

19   I believe the measure of a man is how much they work to evolve

20   and to change, to be a better person.

21        The PSI, presentence investigation report -- or

22   investigation, I have come to discover, is meant to give Your

23   Honor a much broader perspective of the defendant in the case,

24   much broader a perspective than the media labors to give the

25   public.   That's the reason why we have a justice system and Your
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 1   Honor has a probation officer to look into and investigate this

 2   guy, tell me who he is, what he's done, where he's been, what

 3   he's about, et cetera, or she.

 4        So I guess I'm asking Your Honor to judge a tree by its

 5   fruits.   You read my high school career paper.        My career choice

 6   has not changed since high school.       That's what the shamanism is

 7   all about.    Despite the way the tattoos may look, I consider

 8   this therapy for all the pain that I've been through.          I use

 9   physical pain to deal with the mental and emotional trauma that

10   I've been through.     That's what the tattoos are about.          I don't

11   get a tattoo unless I earn it or unless it's to overcome some

12   kind of trauma.    Like these sleeves, I got these sleeves when my

13   dad committed suicide.     It took about 36 hours total to get them

14   done, and so during that process, I was meditating and I was

15   grieving.

16        I would also like to say that I hope that you see my heart

17   and my desire to live the life of like a Christ or a Gandhi in

18   my chosen work for the past several years.         I've worked with

19   kids in group homes, which let me tell you something, that is

20   tough work, Your Honor.       Working with troubled teen boys in

21   group homes, especially some of them fresh out of corrections

22   facilities, that was tough.

23                THE COURT:   Some of the letters I saw --

24                THE DEFENDANT:    What's that, sir?

25                THE COURT:   Some of the letters I saw were very good
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 1   about what you've done there.      I agree.

 2                THE DEFENDANT:   Thank you, Your Honor.      I did it

 3   because I love kids, and I don't want any kid, I don't want any

 4   child to have to grow up the way that I grew up.          I was trying

 5   to give these young men and the children in my care when I was

 6   in Free Arts for Abused Kids of Arizona doing art with abused

 7   children a positive role model, you know.

 8           I tried to start my own business twice.      That failed.

 9   Maybe it's because I'm just not good with numbers and I'm kind

10   of a loner and isolated.      Maybe that's why I failed.      I don't

11   know.    But I joined the military because I believe -- I live

12   this way because I believe that spiritual evolution is most

13   reliably achieved when we have selfless -- when we give of

14   ourselves and have selfless service to others, not expecting

15   anything back but giving, the way that Christ gave, the way that

16   Gandhi gave, the way that Buddha or any saint throughout history

17   has given.

18           This is, I think, the -- the best way to be of service to

19   others is the best way to be of service to God.         And most people

20   will never understand the horrors of war that Your Honor has

21   suffered.    And for that, you have my utmost respect.        Similarly,

22   most people, the media, the prosecution included, will never

23   understand what it is like, nor should they because it is my

24   fault, what it's like to not only be in solitary confinement for

25   22 hours a day, but to go starving for 11 days and then to have
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 1   the DOJ, the FBI, and the media all putting intense amounts of

 2   pressure on you and nitpicking and picking apart your life, your

 3   political beliefs, using your image and saying words that are

 4   nothing of what you are again and again and putting it out

 5   there.    The pressure is unreal.

 6           Granted, Your Honor's pressures -- the fact that you went

 7   through the things you went through gives me confidence and

 8   belief that you actually have a greater understanding of any

 9   sort of pressure that I've been going through because of what

10   you've gone through.     The horrors of war, comparatively, I'm

11   lucky, because I would never want to go through something like

12   that.

13           Most people will never understand what it's like to have

14   every comfort that they ever had suddenly ripped from them and

15   replaced with discomfort, starvation, confinement, daily

16   multiple panic attacks, praying until you are exhausted, losing

17   a loved one knowing when you're talking to them on the phone

18   that they're going to die, and you, because of your actions,

19   were not able to be there for them.

20           I was my grandfather's first grandchild.      And when my mom,

21   because my mom wasn't with my father when I was born, she would

22   go to my grandfather, and my grandfather, when she needed sleep,

23   my grandfather would do the dad thing.        He would get up at 5:00

24   in the morning, you know.      So we had a really special

25   connection.    And the fact that I wasn't there when he died eats
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 1   me up every day, every day.

 2        And my condolences to you for your loss as well.

 3              THE COURT:    That was my grandfather as well.

 4              THE DEFENDANT:     Oh, it was?    Well, my condolences,

 5   Your Honor.   It's not easy.     And the fact that you know -- it

 6   doesn't necessarily do my heart good because I feel for you, but

 7   thank God that you know.

 8        I think the hardest part about all of this is I know that

 9   I'm to blame.    Yet, most people will never have any idea what

10   it's like to have to look in the mirror and say, you know, you

11   really messed up, man, like royally.        Everything that's brought

12   me comfort has now become a source of agony and despondency,

13   because whether it be music I used to enjoy, movies I love,

14   talking to family, eating food, I can't even cook my own food

15   anymore, all of these things used to be sources of comfort.          Now

16   they're sources of discomfort and agony because it's a reminder

17   of you're not free anymore, and guess what, you don't know when

18   you're going to be free again.       Welcome to the world, Jake; you

19   shouldn't have done that.

20        To say the least, while I was in solitary, I really got to

21   understand the whole saying in Shawshank Redemption when Red

22   said, "Hope is a dangerous thing.       Hope can drive a man insane."

23   And every time that I thought I might get a release and I hoped

24   and I didn't, crash, crash, crash.

25        And, you know, I've been through a lot of trauma in my
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 1   life.    I was raised by an alcoholic stepdad who was abusive.         I

 2   got bullied in school all the time.       I mean, I went through boot

 3   camp.    100 hours' worth of tattoos.     I went on a vision quest in

 4   Arizona during the summer and dang near died in the heat.          And I

 5   will tell you right now, Your Honor, nothing has been as

 6   traumatic and as painful, emotionally, mentally, spiritually, as

 7   my time in solitary confinement where I sat through this you

 8   screwed up, Jake, and it's your fault, and guess what, you might

 9   go to prison, you know what, you probably are going to go to

10   prison, you're going to have to deal with that, and you ain't

11   going to know how long that is.

12           For the longest time, I thought it was 20 years.       I didn't

13   understand how the court proceeding worked, and I honestly

14   thought that it was going to be 20 years of self-confinement.          I

15   had never been to jail before.       So I thought that's how jail

16   was, that you are locked in a cell all day for 22 hours a day

17   and that's the way it was going to be for the next 20 years,

18   congratulations.

19           Oh, my God.   I don't know if it's due to the personality

20   disorder that I have or being on the autism spectrum or

21   whatever, but this trauma has done something to me, physically,

22   spiritually.    I've got the white hairs to prove it.        I never had

23   white hairs before.     I have white hairs in my beard, on my

24   chest, on my arms.     I have white hairs now.      I see Your Honor

25   has a lot of them, so no offense.       But I'm 34 years old.      I
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 1   should not have white hairs, Your Honor, but I do.

 2        And it's because this cyclical trauma -- I'm not sure if

 3   Your Honor is aware, but to the functional system of neural

 4   activity that creates our world, the same portions of the brain

 5   that process physical pain also process mental and emotional

 6   pain as well.    So to the functional system of our neural

 7   activity, there is no difference between physical and emotional

 8   pain; they're one and the same.

 9        So having this mental and emotional pain going over and

10   over and over again, it was nothing short of torture.          And I'm

11   not blaming anybody else but myself, but now I can honestly say

12   that I understand.     I never understood why it is that my dad

13   committed suicide -- I never understood why my stepdad committed

14   suicide.   I didn't understand that level of psychological pain.

15   I thought well, why did he do it, why did he do it.

16        After going through this, I can honestly say, without

17   condoning or condemning, because I wouldn't take my own life,

18   but without condoning or condemning, I understand.          When you

19   experience that level of mental and emotional pain, that level

20   of trauma, you do one of two things.        You either take yourself

21   out, or you become unprecedentedly open to alternative ways to

22   live, and you re-evaluate not only the mistake that put you

23   there, but every single mistake you ever made, any time you ever

24   treated somebody poorly even just for -- because you were tired

25   or whatever.    You re-evaluate everything.      It was like a
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 1   near-death experience on a daily basis, because I had to fight

 2   off this will to want to not live anymore but still want to

 3   live, you know.    I wanted to live, but I didn't want to be there

 4   anymore, but at the same time, I didn't want to live that way,

 5   you know.

 6           So how anybody can re-offend after going through something

 7   like that, I don't understand.       I really don't understand how

 8   people -- I met people throughout my incarceration where they

 9   spent five and a half years in solitary, and then when they got

10   out, they did something within two months that brought them

11   back.    And I'm just thinking to myself, dude, you were out, you

12   were out, why didn't you get a job at Burger King or something,

13   you know.    You were out, man.    You could have gone to a homeless

14   shelter.    You were out, dude.    I met a guy that was in solitary

15   for 13 years, and he got put back.

16           And I'm just -- if that is what institutionalization is, I

17   ain't ever going to be institutionalized, Your Honor.          I tell

18   you right now.    I never want to go through anything like this

19   ever again, and I don't recommend that anybody do anything like

20   what I did, that's for sure.      This is the first time I've ever

21   been incarcerated.     It's the first time I've ever been arrested.

22   And it will be the last.      I can guarantee that beyond a shadow

23   of a doubt.

24           They say every saint has a past and every sinner has a

25   future.    That is certainly true.     And to be honest with you, I
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 1   want to evolve.    I want to grow beyond what it is that I was,

 2   because that's what life's all about, is growing past what held

 3   you back, learning about yourself and using that knowledge to

 4   grow and to influence the world in a positive way.

 5        I once heard about this gentleman that had a near-death

 6   experience, and he said that it's not so much that his entire

 7   life flashed in front of his eyes, but that he felt everything

 8   he ever felt throughout his entire life, and he felt everything

 9   he made everybody else feel throughout his entire life.

10        So when I heard that, that's when I started working with

11   kids and trying to have a positive impact in the world, which is

12   part of the reason why I'm so appalled at the way my image has

13   been used and it's been used to create fear and the way it's

14   invoked fear.    That bothers me a lot, because that's a lot of

15   bad juju that I never meant to create, you know.          My shamanic

16   attire was designed to ward off evil spirits, not to scare

17   people.

18        Now that I know that I have a personality disorder -- and

19   whether the personality disorder was a result of trauma that I

20   experienced as a child or the trauma I experienced as a child as

21   a result of the personality disorder does not matter.          What

22   matters is that I had the diagnosis in 2006, and I didn't even

23   know about it, and I have the diagnosis now, and now that I

24   know, it's like okay, well, now I can better navigate the world.

25   Now I can better navigate and go okay, now I can realize okay,
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 1   maybe that was a social queue right there.         Maybe I need to

 2   change me so that I can be better in the world, so I can be a

 3   better man, a better American citizen, so that I can, God

 4   willing, one day be a good husband and a good father, because I

 5   do want to have a family.

 6        More than anything, I just -- I want the trauma to stop.           I

 7   just want the trauma to stop.      I want the pain to stop, and I

 8   want to heal.    I want to heal.     I want to grow.    I want to

 9   evolve.    And I want to grow beyond the symptoms of my disorder.

10   Now that I know that I have this diagnosis, it's like okay, how

11   am I going to deal with it.      I want to be more than I was.

12        There's a saying that goes something like intelligence and

13   education allows people to ascertain facts, but it takes true

14   wisdom to see and discover the truth.

15        Well, Your Honor, you were in the military.          You were an

16   attorney for some time.     And you have been a federal judge as

17   long as I've been alive.      So I'm of the belief that I could not

18   have asked God for a better judge to judge my character, to look

19   at me and say you know what, this is a wise man, an honorable

20   man that is going to be impartial, is going to be fair.

21   Regardless of whether or not you do what it is that I would

22   like, which of course I hope you do, but that aside, I'm being

23   impartial, and I'm looking at the situation from a third-party

24   perspective.    And I hope that you see that my remorse is

25   genuine.   I hope that you see that my acceptance of
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 1   responsibility is real, that my official statement here is

 2   heartfelt and that it's truthful, that I'm being honest with

 3   you, with the Court, with the nation, with the world, because I

 4   believe that, as I said before, spiritual evolution is most

 5   reliably attained by service to others.        And Your Honor has

 6   spent quite a long time being in service to others.

 7          So if Your Honor believes that I deserve more punishment

 8   beyond the trauma in the solitary confinement I have received

 9   thus far, then I will accept and respect Your Honor's decision,

10   and I will endure the sentence you give me.

11          However, before you do, before you hand down your sentence

12   and your judgment, allow me to assure Your Honor, the

13   government, and the nation that I am a peaceful man who believes

14   in nonviolence, noncooperation with evil and tyranny, that the

15   bible says that love is patient, love is kind, and does not

16   insist on its own way.     So I'm doing all I can to be as loving,

17   as patient, and as kind as I can be and to not insist on my own

18   way.

19          With that said, I want to say that I intend to continue to

20   focus on my spiritual evolution, far beyond this court

21   proceeding and ever afterward.

22          Now, like I said, we live two lives, the life that we learn

23   from and the one we live after that.        And this healing includes,

24   you know, and this focus of spiritual evolution includes my

25   mental and my emotional wellness and well-being.
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 1        So please believe me when I say, Your Honor, with almighty

 2   God as my witness, I make this holy vow and this sacred oath, I

 3   will never re-offend ever again, and I will always from here on

 4   forward think about the ramifications of everything that I do

 5   and what it is that I say and how it may be perceived.

 6   Regardless of whether or not I'm saying it in jest or not,

 7   regardless of what it is I'm posting on social media, everything

 8   is going to be re-evaluated and examined through a new lens from

 9   this point on, you know, from this point forward.

10        So with all of that said, I thank Your Honor for your time.

11   God bless you, and may God bless the United States of America.

12              THE COURT:    Okay.   I have a few things to say before I

13   announce the sentence.

14        First of all, I thank you for your comments.          I think --

15   yesterday, I celebrated my 34th year here as a judge, and I

16   think your remarks are the most remarkable I've heard in 34

17   years.   I think you are genuine in your remorse and heartfelt.

18   Parts of those remarks are akin to the kinds of things Martin

19   Luther King would have said.

20        I guess the basic problem I have in considering a departure

21   downward is that although you have evolved in your thinking

22   clearly and reversed your thinking in many ways, what you did

23   here was horrific, as you now concede, and obstructing the

24   functioning of the government as you did is the type of conduct

25   that is so serious that I cannot justify a downward departure.
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 1   I do think that the minimum under the guidelines is something

 2   you've earned because you've done everything right from the time

 3   that you started in the other direction.        You've certainly done

 4   everything you could today to convince the Court that you're a

 5   new person, and I think you're on the right track.

 6        I think if I recommend mental health treatment during your

 7   period of incarceration, you will be out of -- as soon as I sign

 8   the J&C, you will be designated to some other federal facility,

 9   and you will end this incarceration and go to some other

10   facility.   I will see what your attorney recommends in terms of

11   designation, but the designation will be up to the attorney

12   general.    But hopefully, you will get to some minimum security

13   facility promptly and will have a better life and better ability

14   to do this period of incarceration.

15        But the serious nature of the crime itself does not lead to

16   my ability really to think that I could depart downward, even

17   though I do think you're genuine.       What you did was terrible.

18   You made yourself the epitome of the riot.

19        I had a sentencing last week.       It was the most any

20   defendant has gotten, and it was a young man -- I don't take any

21   pleasure in these sentencings.       It's a young man who is from a

22   law enforcement background, from New Jersey.         He has a brother

23   in the Secret Service.     His father is a state trooper.          But he

24   came down and slugged one of the policemen in the face.            And I

25   can't not -- I can't depart downward to give him a break when
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 1   it's assault on a police officer at the Capitol.          It's one of

 2   those kinds of cases, it's too serious an offense.

 3        Now, you didn't go that far.       You didn't slug anybody.        But

 4   what you did here was actually obstruct the functioning of the

 5   whole government.    It's such a serious crime that I just can't

 6   go all the way, even though you now recognize.         But you said

 7   today what you did was wrong.      You know what you did was wrong.

 8   I admire you for being able to come to terms.         You made some

 9   very good remarks here today, and I appreciate that, and I think

10   you've gone a long way to where you're going to be.          I think

11   you've learned a lot yourself in this period.         You've

12   demonstrated that today, and I want to wish you the best.

13        Pursuant to the Sentencing Reform Act of 1984 and in

14   consideration of the provisions of 18 U.S.C. Section 3553, as

15   well as the advisory sentencing guidelines, it's the judgment of

16   the Court that you, Jacob Anthony Chansley, are hereby committed

17   to the custody of the Bureau of Prisons for a term of 41 months

18   on Count 2.   You are further sentenced to serve a period of 36

19   months of supervised release.      In addition, you are ordered to

20   pay a special assessment of $100 required to be imposed in

21   accordance with 18 U.S.C. 3013.

22        While on supervision, you shall abide by the following

23   mandatory conditions, as well as the standard conditions of

24   supervision, which are imposed to establish the basic

25   expectations of your conduct while on supervision.          Mandatory
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 1   conditions include, one, you must not commit another federal,

 2   state, or local crime.     Two, you must not unlawfully possess a

 3   controlled substance.     Three, you must refrain from any unlawful

 4   use of a controlled substance.       You must submit to one drug test

 5   within 15 days of placement on supervision and at least two

 6   periodic drug tests thereafter as determined by the Court.

 7   Four, you must cooperate in the collection of DNA as directed by

 8   the probation officer.     And five, you must make restitution in

 9   accordance with 18 U.S.C. Sections 3663 and 3663(a) or any other

10   statute authorizing a sentence of restitution.

11        You are ordered to make restitution in the amount of

12   $2,000.   The Court determines you do not have the ability to pay

13   interest and penalty and, therefore, waives any interest or

14   penalties on the -- that may accrue on the balance of

15   restitution.

16        The Court finds you do not have the ability to pay a fine

17   and, therefore, waives imposition of a fine in this case.

18        You shall also comply with the following special conditions

19   of supervision:    One, you must submit to substance abuse testing

20   to determine if you've used a prohibited substance.          You must

21   not attempt to obstruct or tamper with testing methods.            And

22   two, you must participate in a mental health treatment program

23   and follow the rules and regulations of the program.          The

24   probation officer, in consultation with the treatment provider,

25   shall supervise your participation in the program.
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 1          Restitution payments shall be made to the Clerk of the U.S.

 2   District Court for the District of Columbia for distribution to

 3   the following victim:     Architect of the Capitol, Office of the

 4   Chief Financial Officer, Ford House Office Building, H2-205B,

 5   Washington, D.C., attention Kathy Cheryl, CPA.         Financial

 6   obligations are immediately payable to the Clerk of Court, U.S.

 7   District Court, 333 Constitution Avenue Northwest, Washington,

 8   D.C.   Within 30 days of any change of address, you shall notify

 9   the Clerk of Court of the change until such time as the

10   financial obligation is paid in full.        You must pay the balance

11   of any restitution owed at a rate of no less than $50 each

12   month.

13          You must provide the probation officer access to any

14   financial requested information, authorize the release of any

15   financial information.     The probation officer may share

16   financial information with the U.S. Attorney's Office.             You must

17   not incur new credit charges or open additional lines of credit

18   without approval of the Probation Office until the restitution

19   is paid.

20          Within 45 days of release from incarceration, you will

21   appear before the Court for a re-entry progress hearing.            The

22   Probation Office in the district in which you are supervised

23   will submit a progress report to the Court within 30 days of the

24   commencement of your supervision.       Upon receipt of the progress

25   report, the Court will determine if your appearance is required.
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 1        The Probation Office shall release the presentence

 2   investigation report to all appropriate agencies, which includes

 3   the Probation Office in the approved district of residence.        In

 4   order to execute the sentence of the Court, the treatment

 5   agencies shall return the presentence report to the Probation

 6   Office upon the defendant's completion or termination from

 7   treatment.

 8        Pursuant to 18 U.S.C. 3742, you have a right to appeal the

 9   sentence imposed by the Court if the period of imprisonment is

10   longer than the statutory maximum or the sentence departs upward

11   from the applicable sentencing guideline range.         If you choose

12   to appeal, you must file any appeal within 14 days after the

13   Court enters judgment.

14        As defined in 28 U.S.C. 2255, you also have the right to

15   challenge the conviction entered or sentence imposed if new or

16   currently unavailable information becomes available to you or on

17   a claim that you received ineffective assistance of counsel in

18   entering a plea of guilty to the offense of conviction or in

19   connection with sentencing.

20        If you're unable to afford the cost of an appeal, you may

21   request permission from the Court to file an appeal without cost

22   to you.

23        Pursuant to the D.C. Circuit opinion in U.S. v. Hunter,

24   does counsel for either side have any objections to the sentence

25   imposed that have not already been noted on the record?
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 1              MS. PASCHALL:    No, Your Honor.     Thank you.

 2              MR. WATKINS:    No, Your Honor.

 3              THE COURT:    Okay.   Any recommendations --

 4              MR. WATKINS:    Your Honor, could I be so kind as to

 5   request the Bureau of Prisons to house Mr. Chansley at such

 6   location as is, one, most convenient to his family in Arizona,

 7   in Phoenix, but prioritizing getting him in a location where the

 8   healthcare that's appropriate is possibly best available?

 9              COURTROOM DEPUTY:     Could you repeat?

10              MR. WATKINS:    I beg your pardon.      Knowing the Bureau

11   of Prisons, obviously, is independent of this Court, but if I

12   could suggest to the Court that Mr. Chansley be sent somewhere

13   close in proximity to Phoenix to permit his family access to and

14   time with Mr. Chansley, balancing that with --

15              THE COURT:    I think I will ask the probation officer

16   to talk to the Bureau of Prisons a little more about that and

17   see if there's a specific recommendation I can make.          I will

18   talk to you about that before I finalize that, then.          I want to

19   do it within a day or two, because it will affect how soon I can

20   get him out of there.

21              MR. WATKINS:    I appreciate that.

22              THE COURT:    I think maybe I can find out what would be

23   better to recommend there.

24              MR. WATKINS:    Thank you, Your Honor.

25              THE COURT:    And the probation officer can talk to
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                                                                              55



 1   Bureau of Prisons placement people about that.         I think it would

 2   be a good idea.

 3                MR. WATKINS:    Yes, Your Honor.

 4                THE COURT:    Anything else you want to recommend?

 5                MR. WATKINS:    No, Your Honor, except I hope you're now

 6   assured that I did not read anything that the defendant said

 7   before he presented to the Court.

 8                THE COURT:    It came totally unfiltered.

 9        I do want to say one other thing.        The time that he has

10   already served would be credited toward the 41 months as well,

11   obviously.

12                MR. WATKINS:    Very good.

13                THE COURT:    And the government wants to dismiss all

14   other charges?

15                MS. PASCHALL:    Yes, Your Honor.   At this point the

16   government would dismiss the remaining charges in the

17   indictment, which would be Counts 1 --

18                THE COURT:    You know, you were facing 20 years,

19   Mr. Chansley, you're right.      The one advantage you get here is

20   you're only facing now 41 months, minus the time you've already

21   served.   Had you gone to trial -- and I've got other cases with

22   these same charges, and if they want to go to trial, they can.

23   But you were smart.       It may not feel it today, but let me

24   guarantee you, you were smart.       You did the right thing.      And

25   you owned up to it today in a fashion that is unusual for me to
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                                                                        56



 1   see, the candor with which you approached me today.          I

 2   appreciate it.

 3              THE DEFENDANT:     Thank you, Your Honor.

 4              THE COURT:    Good luck, Mr. Chansley.

 5        Mr. Watkins, nice job.

 6              MR. WATKINS:    Your Honor, thank you for your time here

 7   today and throughout the entirety of this case.

 8              THE COURT:    The Court will be in recess.

 9        Ms. Paschall, you did a nice job, too.         Thank you.

10        (Proceedings adjourned at 11:56 a.m.)

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 1                  CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3              I, Sara A. Wick, certify that the foregoing is a

 4   correct transcript from the record of proceedings in the

 5   above-entitled matter.

 6

 7

 8   /s/ Sara A. Wick                            December 2, 2021

 9   SIGNATURE OF COURT REPORTER                 DATE

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